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 5
     Attorney for Defendant,
 6   EFRAIN LOZADA ROSAS
 7

 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
                                                     )   Case No.: 15-CR-92-LJO-SKO-1
11   UNITED STATES OF AMERICA,                       )
                                                     )
12                  Plaintiff,                       )   STIPULATION AND ORDER TO
                                                     )   RECALENDAR DEFENDANT EFRAIN
13          vs.                                      )   LOZADA ROSAS’S ARRAIGNMENT ON
     EFRAIN LOZADA ROSAS, et. al.,                   )   THE INDICTMENT FROM APRIL 3, 2015
14                                                   )   TO APRIL 6, 2015.
                                                     )
15                  Defendants.                      )
                                                     )
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            IT IS HEREBY STIPULATED by Defendant EFRAIN LOZADA ROSAS, by and

19   through his counsel, Andrew Delahunt, Esq., and Plaintiff UNITED STATES OF AMERICA, by
20   and through its counsel of record, the United States Attorney for the Eastern District of
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     California and Assistant United States Attorney Henry Carbajal, that Efrain Lozada Rosas’s
22
     Arraignment on the Indictment, currently calendared for April 3, 2015 at 1:30 p.m., shall be
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24   taken off calendar, and the Arraignment on the Indictment shall be calendared on Monday, April

25   6, 2015 at 1:00 p.m. before Magistrate Judge Sheila K. Oberto, to coincide with the status
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     conference set for Defendant Rosas and four other co-defendants.
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            Further, the Parties stipulate that the period of Thursday April 2, 2015 to Monday April 6,
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 2   2015, inclusive, is excludable time under the Speedy Trial Act, 18 U.S.C. § 3161 et. seq., as the

 3   delay is to preserve continuity of counsel for the Defendant.
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            The Parties make this Stipulation because the matter was placed on calendar for the first
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     time on April 2, 2015, and Mr. Delahunt, counsel for the Defendant, is required to be in Los
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 7
     Angeles Superior Court on April 3, 2015, and is therefore unavailable to appear in the Eastern

 8   District on April 3, 2015.
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     Dated: April 2, 2015
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                                                  Respectfully Submitted,
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                                                  LAW OFFICES OF MICHAEL D. GRAHN
13

14                                                           /s/                                .
15
                                                  ANDREW DELAHUNT, ESQ.
                                                  Attorney for Defendant
16                                                EFRAIN LOZADA ROSAS
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                                                              /s/                           .
                                                  HENRY CARBAJAL, ESQ.
20                                                Assistant United States Attorney
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22                                                ORDER

23
            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Efrain Lozada Rosas’s,
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     Arraignment on the Indictment, currently calendared for April 3, 2015 at 1:30 p.m., shall be
25
     taken off calendar and the Arraignment on the Indictment shall be calendared on Monday, April
26
     6, 2015 at 1:00 p.m. before Magistrate Judge Sheila K. Oberto.
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            Case 1:15-cr-00092-LJO-SKO Document 50 Filed 04/03/15 Page 3 of 3



 1          It is further ORDERED that the period of Thursday April 2, 2015 to Monday April 6,
 2   2015, inclusive, is excludable time under the Speedy Trial Act, 18 U.S.C. § 3161 et. seq., as the
 3   delay is necessary to preserve continuity of counsel for the Defendant.
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 5   IT IS SO ORDERED.

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        Dated:     April 3, 2015                              /s/ Barbara A. McAuliffe             _
 7                                                     UNITED STATES MAGISTRATE JUDGE
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